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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF DELAWARE

3G LICENSING, S.A., KONINKLIJKE        )
KPN N.V., and ORANGE S.A,              )
                                       )
            Plaintiffs,                )
                                       )
     v.                                )            C.A. No. 17-083-LPS-CJB
                                       )
HTC CORPORATION and HTC                )
AMERICA INC.,                          )
                                       )
            Defendants.                )


REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS OR IN THE
ALTERNATIVE TRANSFER BASED ON IMPROPER VENUE AND CONVENIENCE


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      Dated: July 28, 2017
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I.     INTRODUCTION

       Plaintiffs already recognized that venue was not proper in Delaware against HTC

America (“HTCA”) when it removed its specific venue allegation from its Second Amended

Complaint. Now in response to HTC’s motion, Plaintiffs contend they had a “non-frivolous

basis for venue.” D.I. 28 at 13. Not so. The totality of purported support for their claim that

venue is proper originates from Plaintiffs’ attempts to purchase HTC phones in this district after

Plaintiffs filed their Second Amended Complaint and after HTC filed its motion to dismiss. But

even considering this ‘support’ and Plaintiffs’ strained view of 28 U.S.C. § 1400(b)’s “regular

and established place of business” prong, venue is still not proper in Delaware against HTCA.

       Nor should venue be proper against HTCA’s parent, HTC Corp.—a foreign entity that

does not make, use, sell, offer for sale, or import any accused HTC products in the United States.

Plaintiffs contend that venue is proper in any venue because HTC Corp. is a foreign corporation,

relying on the Supreme Court’s decision in Brunette. But Brunette involved a foreign defendant

without a U.S. presence that would otherwise not be subject to venue anywhere under 1400(b)—

such is not the case for HTC Corp., which has a regular and established place of business in at

least the State of Washington, where its U.S. subsidiary HTCA is both incorporated and

headquartered. As such, the policy concerns that have driven courts to exclude aliens from

specific venue statutes do not apply to defendants like HTC Corp., whose U.S. subsidiary forms

the sole basis for Plaintiffs’ claims against either HTC entity. Indeed, Plaintiffs’ brief repeatedly

references HTC Corp.’s intent to place products into the stream of commerce through HTCA,

but identifies the allegedly infringing acts (e.g., selling in the U.S.) as performed by HTCA.

Plaintiff cannot have it both ways—rely on HTCA’s operations in the U.S. as the only basis for

filing suit against the parent, HTC Corp., but completely ignore HTCA’s residency and presence

in Washington to argue that HTC Corp. should be subject to venue in Delaware.


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       This contradiction is highlighted by Plaintiffs’ response to HTCA’s arguments in support

of transfer under § 1406(a) if both entities are not dismissed. Plaintiffs proffered that if venue is

not proper for a “particular HTC defendant” (i.e., HTCA), Plaintiffs will simply proceed against

the other (i.e., HTC Corp.) and not re-file against “the dismissed Defendant during the pendency

of this action.” D.I. 28 at 14-15. But proceeding in Delaware against HTC Corp. only, despite

notice that HTC Corp. does not make, use, sell, offer for sale, or import any accused HTC

products in the U.S., and suggesting that Plaintiffs may proceed in a later action on the identical

infringement claims against HTCA, lacks credibility and is disingenuous.

       Plaintiffs cannot escape the paramount fact that HTCA is at the crux of Plaintiffs’

infringement claims, but cannot be subject to proper venue in Delaware. Analyzed under either

HTC’s arguments to dismiss the case for lack of venue or personal jurisdiction as to HTC Corp.,

or the transfer analysis under §§ 1404(a) or 1406(a), the result should be the same—Plaintiffs’

case against both HTC entities should be proceeding in the Western District of Washington.

II.    ARGUMENT

       A.      HTCA is not subject to venue in Delaware

       Plaintiffs agree that venue is improper under the “reside” prong of § 1400(b). D.I. 28 at

11. As for the “regular and established place of business” prong, Plaintiffs do not dispute that

HTCA does not have any employees, offices or facilities in Delaware. Id. However, Plaintiffs

contend to have a “non-frivolous basis for venue” based on a strained interpretation of the

Federal Circuit’s In re Cordis Corp. decision, holding that “the appropriate inquiry is whether

the corporate defendant does its business in that district through a permanent and continuous

presence there,” 769 F.2d 733, 737 (Fed. Cir. 1985). But Plaintiffs cannot identify even a single

specific “presence” in Delaware, let alone a permanent and continuous one.




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       Indeed, prior to and after HTC filed its motion, HTC requested that Plaintiffs explain its

Rule 11 basis for filing its Second Amended Complaint against HTCA after HTC confirmed (at

Plaintiffs’ request) that HTC did not have any employees, facilities or offices in Delaware. Ex.

F-G. But Plaintiffs repeatedly refused to provide any facts or evidence to support its position,

insisting that HTC wait for Plaintiffs’ opposition. Ex. F. Now that Plaintiffs have responded, the

reason for their refusal is clear—Plaintiffs did not have any, as all of the purported support was

manufactured weeks after Plaintiffs filed its Second Amended Complaint and after HTC filed its

motion to dismiss. D.I. 29, 29-3-29-9. Plaintiffs could not establish proper venue as to HTCA in

its Second Amended Complaint and still fail to do so in their opposition.

               1.      HTCA lacks a permanent and continuous presence in Delaware

       Even in view of the Cordis standard, Plaintiffs fail to establish that HTCA has a

“permanent and continuous presence” in Delaware. “Courts have consistently held that an

alleged patent infringer has a ‘regular and established place of business’ in a judicial district only

if it actually has a place of business there; activities such as the maintenance of independent sales

agents or visits by company representatives, and the solicitation of orders are not enough.”

Michod v. Walker Magnetics Grp., Inc., 115 F.R.D. 345, 347 (N.D. Ill. 1987); see also Wilson v.

McKinney Mfg. Co., 59 F.2d 332, 334-35 (9th Cir. 1932) (A corporate defendant must be

“carrying on in a continuous manner a substantial part of its ordinary business” in that district).

HTCA does not meet this threshold.

       Plaintiffs rely on cases that purportedly lacked a “physical location,” but each features a

defendant far more engaged in conducting business in a continuous manner than HTCA.

Compare HTCA (no employees, offices, or facilities in Delaware), with In re Cordis Corp, 769

F.2d at 735 (two fulltime sales reps with home offices in the district), Hemstreet v. Caere Corp.,

1990 WL 77920, at *4 (N.D. Ill. June 6, 1990) (an office and a district manager in the district),


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and Raytheon Co. v. Cray, Inc., 2017 WL 2813896, at *9, 13 (E.D. Tex. June 29, 2017) (a sales

executives with a home office and a listed “office” telephone number in the district, and a

territory manager residing and conducting sales in the district).

               2.      Mere sales or third-party activities are insufficient to create a
                       permanent and continuous presence in Delaware

       Plaintiffs further rely on sales in Delaware of accused HTC products to satisfy the

“regular and established place of business” prong. D.I. 29-3 to 29-9. However, Courts have

found this insufficient to establish venue. Candas v. Agnini, 14 F. Supp. 21, 22 (S.D.N.Y. 1936)

(“[A] few cash customers is not enough”).

       Plaintiffs’ reliance on third party activities is similarly insufficient to show a “regular and

established place of business.” D.I. 29-3 to 29-9. In W. S. Tyler Co. v Ludlow-Saylor Wire Co.,

the Supreme Court held that paying an agent, also employed by another corporation, to solicit

orders to be executed at its home office and sharing expenses with another corporation of an

office in the district was insufficient. 236 U.S. 723, 725 (1915). More recently, a Court did not

find a “permanent and continuous presence” in Texas, despite the Kansas resident defendant

doing business with dealers in Texas which distributed defendant’s products. Logantree LP v.

Garmin Int’l, Inc., 2017 WL 2842870, at *2 (W.D. Tex. June 22, 2017). The Court noted it was

“well settled that the mere presence of independent sales representatives” was insufficient. Id.

               3.      The Raytheon four factor test from the Eastern District of Texas is too
                       expansive to survive Federal Circuit’s review

       Plaintiffs rely heavily on the four-factor test in Raytheon in support of their argument that

venue can be proper without a physical location in the district, but even Cordis is not so

expansive. Cordis states that the physical presence need not be a “formal office or store”—

traditional places of business can be replaced with locations that served the same purpose, such

as the address of the secretarial service and employee residences used to store product. Cordis,


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769 F.2d at 737. According to Judge Gilstrap, “[n]one of these factors should alone be

dispositive, and … [c]ourts should endeavor to determine whether a domestic business enterprise

seeks to materially further its commercial goals within a specific district through ways and

means that are ongoing and continuous.” Raytheon, 2017 WL 2813896, at *14. Notably, other

Courts post-TC Heartland have rejected such a broad application. See, e.g., Hand Held

Products, Inc. v. The Code Corp., 2017 WL 3085859, at *4 (D.S.C. July 18, 2017) (volume of

sales and presence of third-party distributors in the district irrelevant to the § 1400(b) analysis).

       The Raytheon test is the “liberal” type of construction that the Supreme Court repealed in

Schnell v. Peter Eckrich & Sons, Inc., 365 U.S. 260, 264 (1961) (“The requirement of venue is

specific and unambiguous; it is not one of those vague principles which, in the interest of some

overriding policy, is to be given a ‘liberal’ construction.”). It also contradicts Supreme Court

guidance under the similar “continuous and systematic” analysis in Daimler AG v. Bauman, 134

S. Ct. 746, 761-762 (2014), which warned of “exorbitant exercises of all-purpose jurisdiction

[that] would scarcely permit out-of-state defendants ‘to structure their primary conduct with

some minimum assurance as to where that conduct will and will not render the liable to suit.’”

       Cray has since filed a petition for writ of mandamus seeking to reverse this four factor

test, which does not comport with the literal statutory language (and congressional intent) and

should not survive Federal Circuit review. Petition for Writ of Mandamus at 22, In re Cray, No.

17-129 (Fed. Cir. July 17, 2017). Notably, the Federal Circuit requested expedited briefing and

on the same day, the district court sua sponte stayed the case. Order on Petition, In re Cray, No.

17-129 (Fed. Cir. July 18, 2017). Should it survive, venue is still not proper here even under this

test. Among other things, Cray had an employee with a home office providing an ongoing and

continuous presence in Texas while HTCA has no employees or offices in Delaware.




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               4.      HTCA should be dismissed and venue discovery should be denied

       As shown above, Plaintiffs have failed to even show a “non-frivolous basis for venue,” as

its bare assertion that HTCA has a “regular and established place of business” is pure conjecture,

failing to present a plausible allegation, let alone one with “reasonable particularity.” Eurofins

Pharma US Holdings v. BioAlliance Pharma SA, 623 F.3d 147, 157 (3d Cir. 2010) (“A plaintiff

may not, however, undertake a fishing expedition based only upon bare allegations, under the

guise of jurisdictional discovery.”); see also Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446,

456 (3d Cir. 2003). Plaintiffs request for venue discovery should be denied.

       B.      HTC Corp. should not be subject to venue in Delaware

               1.      HTC Corp. has a regular and established place of business in the
                       Western District of Washington -- not in Delaware

       HTC Corp. has a “regular and established place of business” in the U.S.—its wholly

owned subsidiary, HTCA, who performs the allegedly infringing acts and is headquartered in

Washington. Plaintiffs ignore this crucial distinction over the sole foreign defendant in Brunette.

Brunette Machine Works, Ltd. v. Kockum Industries, Inc., 406 U.S. 706, 707 (1972). There, the

Supreme Court held that foreign defendants may be sued in any district to avoid “oust[ing] the

federal courts of jurisdiction in most cases, because… an alien defendant is by definition is a

citizen of no district.’” Id. at 709. That concern is inapplicable here, as the Western District of

Washington is both proper and the “most appropriate or convenient federal forum.” Id. at 710.

       Plaintiffs nevertheless insist that the venue analysis for HTC Corp. and HTCA should be

separated, despite Plaintiffs’ reliance entirely on HTCA’s operations to form a basis for even

including HTC Corp. in this lawsuit. Plaintiffs have not contested that HTC Corp. does not

perform any allegedly infringing acts of making, using, selling, offering for sale, or importing the

accused HTC products in the U.S. Yet, Plaintiffs’ only rebuttal to this Court lacking personal



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jurisdiction over HTC Corp. is to point at HTCA’s activities in the U.S.1 Plaintiffs cannot have

it both ways—relying on HTCA’s activities to establish personal jurisdiction over HTC Corp.

while ignoring HTCA to claim proper venue for HTC Corp. (in a venue not proper for HTCA).

Plaintiffs’ interpretation of the interplay between the general and patent venue statutes misreads

the statutory language and subverts the rationale in TC Heartland and congressional intent.

       C.      HTC Corp. is not subject to personal jurisdiction in Delaware

               1.      Plaintiffs reliance on Polar to argue that the “dual jurisdiction
                       theory” is controlling is misguided

       Plaintiffs heavily rely on Polar Electro Oy v. Suunto Oy, 829 F.3d 1343 (Fed. Cir. 2016)

to argue that the “dual jurisdiction theory” controls. D.I. 3-9. However, the Federal Circuit has

cautioned of “substituting – [Federal Circuit’s] interpretation of state long-arm statutes for that of

the relevant state and federal courts.” Graphic Controls Corp. v. Utah Med. Prods., Inc., 149

F.3d 1382, 1386 (Fed. Cir. 1998). As this Court recognized in Graphics Props. Holdings, Inc. v.

Asus Computer Int’l, the Delaware Supreme Court has not expressly decided the issue. 70 F.

Supp. 3d 654 (D. Del. Sept. 29, 2014). It still has not. Thus, “the Court's role here is limited to

predict[ing] how that tribunal would rule on this issue of state law.” Id. (citing In re Makowka,

754 F.3d 143, 148 (3d Cir. 2014)). In the past, Delaware district courts have upheld and rejected

the theory. Id. at 662; see also Round Rock Research LLC v. Asustek Computer Inc., 967 F.

Supp. 2d 969, 977 (D. Del. 2013) (rejecting the dual jurisdiction theory). If presented the issue,

Defendants respectfully submit that the Delaware Supreme Court would find the theory

inapplicable, see infra II. A.2. Bristol-Myers Squibb Co. v. Superior Ct., 137 S. Ct. 1773 (2017).


1
  “HTC Corporation’s intent to serve the United States market is established by the fact that it
sells its accused products (mobile smartphones) to its whole owned and controlled American
subsidiary, HTC America, with the understanding and expectation that HTC America will, in
turn, sell those products in the United States.” D.I. 28 at 4 (emphasis in original). This is
insufficient to allege infringement against HTC Corporation, but that is a motion for another day.


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       In Polar, the court merely found that the district court did not err in its application of this

theory. Polar Electro Oy, 829 F.3d at 1352. The facts are also distinguishable—finding

sufficient contacts because “[Defendant’s] actions are purposefully directed to Delaware,

indicating an intent and purpose to serve not only the U.S. market generally, but also the

Delaware market specifically.” Id. at 1350. Unlike Plaintiffs’ bare allegation that HTC Corp.

generally targets the U.S., Polar’s holding was based on specific facts, e.g., “purposefully

ship[ing] at least ninety-four accused products to Delaware retailers, fully expecting that its

products would then be sold in Delaware.” Id. No such allegations or evidence exist here.

               2.      Supreme Court’s recent Bristol-Myers decision reinforces the
                       impropriety of the dual jurisdiction theory approach

       As the propriety of the “dual jurisdiction theory” remains an open question, the Supreme

Court’s recent rejection of the California Supreme Court’s “sliding scale approach” is instructive.

There, the Court criticized the approach for “resembl[ing] a loose and spurious form of general

jurisdiction” that is “difficult to square with this Court’s precedents.” Bristol-Myers, 137 S. Ct.

at 1781. Similarly, the “dual jurisdiction theory” approach resembles “a loose and spurious form

of general jurisdiction” by establishing specific jurisdiction “when a manufacturer has sufficient

general contacts with Delaware and the plaintiffs’ claims arise out of those contacts.” Belden

Techs., Inc. v. LS Corp., 829 F. Supp. 2d 260, 267 (D. Del. 2010) (emphasis added). But the

Supreme Court has now made clear that “[f]or specific jurisdiction, a defendant’s general

connections with the forum are not enough.” Bristol-Myers. 137 S. Ct. at 1781 (emphasis

added). Under this precedent, the “dual jurisdiction theory” is not a viable theory.

               3.      Jurisdictional discovery should be denied

       For similar reasons discussed in II. A. 6 on venue discovery, Plaintiffs’ jurisdiction

discovery request based on bare allegations should be denied. Nespresso USA, Inc. v. Ethical



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Coffee Co. SA, 2017 WL 2984072, at *7 (D. Del. July 13, 2017) (“If jurisdictional discovery

were granted on the pleadings and facts advanced by ECC, then any foreign company with a

subsidiary in the United States could be forced into discovery when their subsidiary is sued.”).

       D.      The Western District of Washington is the proper venue for this case

               1.      If Defendants are not dismissed, the case should nevertheless be
                       transferred to the Western District of Washington under § 1406(a)

       Plaintiffs do not contest that § 1406(a) should apply if the Court finds the appropriate

venue for HTCA is the Western District of Washington, and not Delaware. D.I. 28 at 14.

Plaintiffs’ apparent end-run to transfer is its claim that it would not file against HTCA in another

venue, and simply proceed against HTC Corp. only in Delaware. Id. at 15. If Plaintiffs intended

to “proceed solely against the remaining HTC defendant” (HTC Corp.), they should have

dismissed the improper defendant before they filed their Second Amended Complaint.2

       Plaintiffs do not dispute that this action originally could have been brought in the

Western District of Washington. Further, Plaintiffs’ arguments directed to public and private

factors are misplaced here. In re First Solar, Inc. Derivative Litig., 2013 WL 817132, at *12 (D.

Del. Mar. 4, 2013) (recommending transfer for improper venue under § 1406(a) without

analyzing public and private factors). In the interest of justice, transfer is warranted.

               2.      In the alternative, the case should be transferred to the Western
                       District of Washington under § 1404(a)

       Regardless of the §1406(a) analysis, the Western District of Washington is a far more

convenient forum notwithstanding the related cases Plaintiffs heavily rely on. D.I. 28 at 19.

Judicial economy concerns cannot control the transfer analysis when many other factors


2
 Should the Court permit Plaintiffs to proceed in Delaware against HTC Corp. only simply to
avoid a § 1406(a) transfer, the case is ripe for summary judgment of non-infringement as to HTC
Corp. because it does not make, use, sell, offer for sale or import any accused HTC phones in the
U.S. and is presumably only in this lawsuit due to its corporate relationship with HTCA.


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demonstrate that another venue is clearly more convenient. In re Morgan Stanley, 417 F. App’x

947, 949 (Fed. Cir. 2011) (“The proper administration of justice may be to transfer to the far

more convenient venue even when the trial court has some familiarity with a matter from prior

litigation.”); see also In re Verizon Bus. Network Servs., 635 F.3d 559, 562 (Fed. Cir. 2011).

Moreover, judicial efficiency from the related actions will be diminished as cases are stayed,

dismissed or transferred to different forums.3

       Here, other than their preference, Plaintiffs (all foreign entities) fail to claim that any

private interest factor weighs against transfer, while the sole domestic party, HTCA, is in

Washington, where most of its employees and documents are located. Gietzen Decl. at ¶¶ 3-5, 9.

As for public interest factors, Plaintiffs also do not dispute the local interests for HTCA in the

transferee forum. On the other hand, no witness or evidence is located in Delaware. In a similar

case with similar facts (no witnesses, evidence or ties between Plaintiff and the forum, a related

action not subject to transfer, and a foreign parent and U.S. subsidiary headquartered and

incorporated in another venue), the Court noted that “no Delaware defendants … substantially

increases the defendants’ showing that this case should be transferred … [a]nd among other

things, it reduces or arguably eliminates Delaware’s local interests.” Tr. at 54, Intellectual

Ventures I LLC v. Symantec Corporation et al., C.A. No. 10-1067-LPS (D. Del. Nov. 29, 2012),

D.I. 423. The Jumara factors thus favor transfer or are, at least, neutral. If the case is not

dismissed or transferred under § 1406(a), the case should be transferred under § 1404(a).

III.   Conclusion

       HTCA and HTC Corp. respectfully request that the Court grant their motion.


3
  Seven of the eleven “related actions” involve only a single expired patent, and the defendants
intend to file an early § 101 motion and seek a stay. C.A. No. 17-87-LPS-CJB (D.I. 26 at 3).
Moreover, the Kyocera defendants have similarly moved to dismiss on venue and personal
jurisdiction grounds or to transfer in the alternative. Id.


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                                      Respectfully submitted,

                                      /s/ John W. Shaw
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